Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 1 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 2 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 3 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 4 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 5 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 6 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 7 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 8 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 9 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 10 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 11 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 12 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 13 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 14 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 15 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 16 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 17 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 18 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 19 of 20
Case 1:24-cv-08926-LLS   Document 19   Filed 12/06/24   Page 20 of 20
